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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS




Steven P. Endres

                Plaintiff
                                                         CIVIL ACTION
                V.
                                                         NO. 1:23-12051-FDS


Ashley Moody et al

                Defendant


                                ORDER OF DISMISSAL


Saylor, C. J.

In accordance with the Court's ORDER dated December 22, 2023 (Dkt. No. 125), it is hereby
ORDERED that the above-entitled action be and hereby is DISMISSED.


                                                  By the Court,


       12/22/2023                                        /s/ Flaviana de Oliveira
       Date                                              Deputy Clerk
